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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 09-779V
                                       Filed: May 27, 2016
                                       Not for Publication

*************************************
EMI BURKE and KEVIN BURKE,                 *
as Parents/Next Friends and                *
                                                              Damages decision based on
Legal Representatives of C.B.,             *
                                                              stipulation; Diphtheria-Tetanus-
Their Minor Son,                           *
                                                              acellular Pertussis (“DTaP”)
                                           *
                                                              vaccine; inactivated polio vaccine
         Petitioners,                      *
                                                              (“IPV”); hepatitis B (“Hep B”)
                                           *
                                                              vaccine; hemophilus influenza b
 v.                                        *
                                                              (“Hib”) vaccine; pneumococcal
                                           *
                                                              conjugate vaccine (“PCV”);
SECRETARY OF HEALTH                        *
                                                              encephalopathy; seizure disorder;
AND HUMAN SERVICES,                        *
                                                              profound developmental delays
                                           *
         Respondent.                       *
                                           *
*************************************
Ronald W. Cox, Rockville, MD, for petitioners.
Glenn A. MacLeod, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

        On May 27, 2016, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioners allege that their son’s receipt of the
Diphtheria-Tetanus-acellular Pertussis (“DTaP”), inactivated polio (“IPV”), hepatitis B (“Hep
B”), hemophilus influenza b (“Hib”), and pneumococcal conjugate (“PCV”) vaccines on
February 20, 2007 caused him to develop an encephalopathy, seizure disorder, and profound
developmental delays. Petitioners further allege that C.B. suffered the residual effects of these

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  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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injuries for more than six months. Respondent denies that the DTaP, IPV, Hep B, Hib, or PCV
vaccines caused C.B. to develop an encephalopathy, seizure disorder, profound developmental
delays, or any other injury. Nonetheless, the parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$75,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2012). The award shall be in the form of a check payable to petitioners as
guardians/conservators of the estate of C.B. in the amount of $75,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: May 27, 2016                                                        s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                               Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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